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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

            Plaintiff,                            Case No. 1:24−cr−00172−RJJ

    vs.                                           Hon. Robert J. Jonker

SCOTT MICHAEL ELAM,

            Defendant.
                                           /


                         ORDER SCHEDULING PROGRESSION OF CASE


Take notice that a proceeding in this case has been set as indicated below:

                           Detention Hearing
Type of hearing(s):        Initial Pretrial Conference
Date/Time:                 November 8, 2024 02:00 PM
Judge:                     Sally J. Berens
Place/Location:            650 Federal Building, Grand Rapids, MI


Preparation and E−filing of Initial Pretrial Conference Summary Statement

The parties shall each e−file an Initial Pretrial Conference Summary Statement no later than
3:00 p.m. the business day prior to the initial pretrial conference hearing. See the court's
standard Initial Pretrial Conference Summary Statement forms, which are available at
www.miwd.uscourts.gov under Forms/Criminal Forms.

Filing of Rule 12(b) Motions

All motions shall be filed within twenty−one (21) days from the date of the initial pretrial
conference of the defendant, unless otherwise ordered.

Initial Discovery

The provisions of the court's Standing Order Regarding Discovery in Criminal Cases
(Administrative Order 20−RL−066) shall apply to the parties named above. The Standing
Order is available on the court's website at www.miwd.uscourts.gov, under Rules, Orders &
Policies/Administrative Orders. Sanctions may be imposed for failure to follow the court's
Standing Order Regarding Discovery in Criminal Cases.

Detention

Defendant is temporarily detained, pending a detention hearing as scheduled above. Pending
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this hearing, the defendant shall be held in custody by the United States marshal and
produced for the hearing.

IT IS SO ORDERED.


Dated: November 7, 2024                 /s/ Sally J. Berens
                                       UNITED STATES MAGISTRATE JUDGE
